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 1 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal Bar No. 220289)
 2 Bethany Caracuzzo (Cal Bar No. 190687)
   Caroline Corbitt (Cal Bar. No. 305492)
 3
   PRITZKER LEVINE LLP
 4 1900 Powell Street, Suite 450
   Emeryville, CA 94608
 5 Tel.: (415) 692-0772
   Fax: (415) 366-6110
 6 ecp@pritzkerlevine.com

 7 jkl@pritzkerlevine.com
   bc@pritzkerlevine.com
 8 ccc@pritzkerlevine.com

 9 Interim Class Counsel

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12
                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
14

15   In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
     Litigation,
16                                                   PLAINTIFFS’ ADMINISTRATIVE
                                                     MOTION TO CONSIDER WHETHER
17   This Document relates to: all actions.          ANOTHER PARTY’S MATERIALS
                                                     SHOULD BE SEALED – RE. GOOGLE’S
18                                                   MATERIALS
19
                                                     [Civil L.R. 7-11, 79-5(f)]
20
                                                     Judge: Hon. Yvonne Gonzalez Rogers
21
                                                     Hearing Date:     TBD
22                                                   Hearing Time:
23                                                   Hearing Location:

24

25

26

27

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                                                    -1-                    4:21-cv-02155-YGR -VKD
                                    PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                      PARTY’S MATERIALS SHOULD BE SEALED – RE. GOOGLE’S MATERIALS
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 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), plaintiffs hereby respectfully submit this
 3 Administrative Motion to Consider Whether Another Party’s (Defendant Google’s) Materials

 4 Should Be Sealed. Plaintiffs cite to, summarize, and submit documents and testimony in support of

 5 plaintiffs’ Motion for Class Certification (“Motion”) that Google that Google has designated

 6 “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” pursuant to the protective order in

 7 this case (ECF No. 59). Therefore, plaintiffs must lodge this information and these documents

 8 conditionally under seal.

 9          The specific portions of the Motion, reports of Experts plaintiffs’ submit in support of the

10 Motion (collectively “Expert Reports”), and documents and transcripts submitted in support of the

11 Motion that plaintiffs respectfully request be conditionally redacted or sealed at this time, subject to

12 a motion by Google, are:

13              •   Portions of the plaintiffs’ memorandum of points and authorities in support of

14                  plaintiffs’ Motion at 7:-4, 7:15, 7:16, 7:18, 17:19-21, 9:24, 15:20, 15:21, 22:1, 22:24;

15              •   Portions of plaintiffs’ submitted Proposed Order re. Class Certification, at 5:17, 5:18,

16                  5:21, 5:22-24;

17              •   Exhibits to the Declaration of Elizabeth C. Pritzker submitted in support of plaintiffs’

18                  Motion:

19                      a. Exhibit 1: Expert Class Certification Report of Professor Zubair Shafiq at

20                          highlighted portions at ¶¶ 12, 18, 28, 31, Figure 1, ¶¶ 32, 33, Figure 2, ¶¶

21                          34, 35, Table 1, ¶¶ 36, 37, 39, FN 12, ¶¶ 39, 40, 42, FN 17, FN 18, FN 19,

22                          FN 20, Table 2, ¶¶ 43, 45, FN 22, ¶ 46, ¶¶ 47, 48, 49, 50, 51, 52, 53, 54, 55,

23                          56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, FN 31, ¶¶ 78, 79, 80, 88,

24                          91, 92, 93, FN 67, ¶¶ 94, 95, 97, Figure 6, ¶ 98, Figure 7, ¶¶ 100, and 101 1;  0F




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     Portions of Ex. 1 – Prof. Shafiq’s Class Certification Report at ¶¶ 42, 46, Table 2, FN 18, FN 19,
27 FN 23, FN 24, FN 25, FN 26, FN 27 and FN 28, are also sealed because they contain private

28 information of the named plaintiffs, and are the subject of plaintiffs’ administrative motion to file
   under seal, filed separately herewith, pursuant to L.R. 79-5(f)(5). Levine Decl., ¶ 4.
                                                   -2-                   4:21-cv-02155-YGR -VKD
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 1                     b. Exhibit 2: Expert Class Certification Report of Professor Christopher

 2                         Wilson, highlighted portions at ¶¶ 47, 77, 79, FN 35, ¶ 95, portions of Table

 3                         5, ¶¶ 103, 104 2;
                                          1F




 4                     c. Exhibit 3: Expert Class Certification Report of Professor Robert

 5                         Zeithammer at highlighted portions at ¶¶ 19, 32-41, 65, 66, 68 – 70, 73

 6                         (portions of Table 1), ¶¶ 74, 80 (portions of Table 2), ¶¶ 83, 97, and 99;

 7                     d. Exhibit 4: Expert Class Certification Report of Greg Regan, CPA/CFF, CFE

 8                         at highlighted portions at ¶¶ 33, 34, FN 51, FN 54, ¶ 36, FN 60, Figure 2, ¶

 9                         38, FN 61, Figure 3, ¶ 42, 43, FN 72, FN 73, ¶ 45, FN 76, ¶ 47, FN 81, ¶ 48,

10                         Figure 4, FN 83, ¶¶ 51, 52, FN 85, Figure 5, ¶ 53, 59, and 60;

11                     e. Exhibit 5: Expert Class Certification Report of Professor Neil Richards at

12                         highlighted portions at ¶¶ 68, 72, 74, FN 130, ¶¶ 99, 114, 115, 116, 126,

13                         136;

14                     f. Exhibit 12: GOOG-HEWT-00349634, which was designated Confidential

15                         by Google;

16                     g. Exhibit 13: GOOG-HEWT-00455800, which was designated Highly

17                         Confidential – Attorneys’ Eyes Only by Google;

18                     h. Exhibit 15: GOOG-HEWT-00455648, which was designated Highly

19                         Confidential – Attorneys’ Eyes Only by Google

20                     i. Exhibit 17: Excerpts of the deposition of Google employee George Levitte,

21                         which was designated Highly Confidential – Attorneys’ Eyes Only by

22                         Google;

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     2
25   Portions of Ex. 2 – Prof. Wilson’s Class Certification Report are also sealed because they contain
   information designated Confidential by third-parties The New York Times (see ¶¶ 38, 39, Table 2,
26 ¶ 40, Table 3, and also ¶¶ 40 and 79 also identified herein) and TTD (see ¶ 47), respectively, and
   are therefore subject to two additional administrative motions to consider whether another party’s
27 materials should be sealed, filed contemporaneously. Ex. 2 at Table 5, contains data pertaining to

28 the named plaintiffs, the sealing of which is addressed in plaintiffs’ administrative motion to file
   under seal, also filed herewith. Levine Decl., ¶¶ 5, 6.
                                                   -3-                    4:21-cv-02155-YGR-VKD
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 1                    j. Exhibit 18: Excerpts of the deposition of Google employee Glenn Berntson,

 2                        which was designated Confidential by Google;

 3                    k. Exhibit 19: GOOG-HEWT-00456419 which was designated Highly

 4                        Confidential – Attorneys’ Eyes Only by Google;

 5                    l. Exhibit 20: GOOG-HEWT-00098506 which was designated Confidential

 6                        by Google;

 7                    m. Exhibit 21: GOOG-HEWT-00481219 which was designated Highly

 8                        Confidential – Attorneys’ Eyes Only by Google;

 9                    n. Exhibit 22: GOOG-HEWT-00481225 which was designated Highly

10                        Confidential – Attorneys’ Eyes Only by Google;

11                    o. Exhibit 23: GOOG-HEWT-00480493 which was designated Confidential

12                        by Google;

13                    p. Exhibit 24: GOOG-HEWT-00099180 which was designated Confidential

14                        by Google;

15                    q. Exhibit 25: GOOG-HEWT-00330758 which was designated Confidential

16                        by Google;

17                    r. Exhibit 26: GOOG-HEWT-00035713 which was designated Highly

18                        Confidential by Google;

19             •   Exhibit to the Declaration of Bethany Caracuzzo submitted in support of plaintiffs’

20                 Motion:

21                    a. Exhibit 42: GOOG-HEWT-00456456, June 28, 2016 Consent Bump sent to

22                        Google account holders, which was designated Confidential by Google.

23

24         An unsealed and unredacted version of the documents identified above are lodged under seal

25 with the same Exhibit numbers as those used in the Motion with the Declaration of Jonathan K.

26 Levine filed herewith. Where only portions of the materials are to be sealed, those portions are

27 highlighted in yellow. Plaintiffs, though not the Designating Party, also submit a proposed order

28 herewith.
                                                  -4-                    4:21-cv-02155-YGR-VKD
                                 PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                   PARTY’S MATERIALS SHOULD BE SEALED – RE. GOOGLE’S MATERIALS
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 1 II.      ARGUMENT

 2          Materials and documents may be filed conditionally under seal pursuant to Civil Local Rule

 3 79-5 when the document, or portions thereof, are privileged, protectable as a trade secret, or

 4 otherwise entitled to protection under the law, if the request minimizes the information sought to be

 5 sealed from public view and is and narrowly tailored. See L.R. 79-5(a),(c)(3). Plaintiffs’ request

 6 seeks to conditionally seal language in the Motion and Expert Reports that refers to documents, as

 7 well as the documents and transcripts themselves, that Google has designated “Confidential” or

 8 “Highly Confidential – Attorneys’ Eyes Only” pursuant to the protective order. This information is

 9 relevant to plaintiffs’ Motion for Class Certification, and the request to seal cannot be more narrowly
10 drawn by plaintiffs without the consent of Google. Plaintiffs seek this relief in good faith in order

11 to comply with Google’s designations and the protective order, and do not join in the request to seal.

12          Civil L.R. 79-5(f)(3) imposes additional requirements on the “Designating Party,”

13 Defendant Google. Plaintiffs do not agree that the conditionally-redacted information or sealed

14 documents and excerpts be permanently sealed from public view, other than that plaintiffs wish to

15 comply with the protective order and Google’s designations.

16 II.      NOTICE OF LODGING

17          Plaintiffs will lodge with the Court, and serve on counsel for Defendant Google, a complete

18 copy of the unredacted and unsealed document in accordance with Civil L.R. 5-1(e).

19 III.     CONCLUSION

20          Plaintiffs, for the reasons set forth herein, hereby move the Court to consider whether those

21 portions of plaintiffs’ Motion, Expert Reports, and Exhibits, as identified herein, should remain

22 conditionally under seal and in redacted form pursuant to Google’s designation.

23 DATED: July 14, 2023

24
     PRITZKER LEVINE LLP
25
   By: __/s/ Jonathan K. Levine
26 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal Bar No. 220289)
27 Bethany Caracuzzo (Cal. Bar No. 190687)
   Caroline Corbitt (Cal Bar. No. 305492)
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 1 Emeryville, CA 94608
   Tel.: (415) 692-0772
 2 Fax: (415) 366-6110
   ecp@pritzkerlevine.com
 3
   jkl@pritzkerlevine.com
 4 bc@pritzkerlevine.com
   ccc@pritzkerlevine.com
 5
   Interim Class Counsel
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